                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

LOCAL UNION NO. 124 IBEW                          )
PENSION TRUST FUND, et al.,                       )
                                                  )
         Plaintiffs,                              )
                                                  )
         v.                                       )   No. 4:18-CV-00219-DGK
                                                  )
UNIVERSAL TECHNOLOGIES, LLC,                      )
                                                  )
         Defendant.                               )

                                     SHOW CAUSE ORDER

         This case arises out of alleged violations of the Employee Retirement Income Security Act

(“ERISA”), 29 U.S.C. § 1132 and 29 U.S.C. § 1145 for unpaid fringe benefit contributions.

         Plaintiffs filed their lawsuit on March 21, 2018 and on June 15, 2018 Defendant was served

with process (Docs. 1 & 4). Defendant’s answer was due on July 6, 2018. See Fed. R. Civ. P.

12(a). Defendant failed to answer or otherwise respond to the complaint. On August 3, 2018,

Plaintiffs moved for default judgment. Pursuant to Federal Rule of Civil Procedure 55(a), the

Clerk of Court entered a clerk’s default.

         Defendant is directed to show cause in writing within 21 days of the date of this Order why

default judgment should not be entered against it pursuant to Federal Rule of Civil Procedure

55(b).

         IT IS SO ORDERED.

Dated: August 22, 2018                                 /s/ Greg Kays
                                                      GREG KAYS, CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT




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